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FoR THE DISTRICT oF MARYLAND _:»,--E .»q rig .?, f f 5
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V.

POR'I`FOLIO RECOVERY
ASSOCIATES, LLC

Defendant

NOTICE OF REMOVAL

 

To: Clerk - United States District Court for the
l)istrict of Maryland, Northern Division

PLEASE TAKE NOTICE THAT, on this date, Defendant Portfolio Recovery
Associates, LLC ("PRA"), pursuant to 28 U.S.C. § l44l(b) and 28 U.S.C. § 1331, hereby
removes the above captioned matter to this Court from the Circuit Court of Maryland for
Baltimore City. In support thereof, PRA avers as follows:

l. On or about March 28, 2013, Plaintii`f filed a Complaint in the Circuit Court of
Maryland for Baltimore City, at case number 03-C-001745. (A true and correct copy of
Plaintiffs Complaint is attached hereto and marked as Exhibit “A”).

2. PRA was served With Plaintiff's Complaint on April lO, 2013.

3.' Plaintiff's Complaint alleges that PRA violated the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq. by allegedly filing a collection complaint Without sufficient proof

of ownership of Plaintiff‘s defaulted consumer debt. w PlaintifT'S Complaint, Count I.

 

 

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4. Based on the foregoing, PRA has timely filed this Notice of Removal within thirty
days of being served with the Complaint and within thirty days of the date that the Action was
first removable w 28 U.S.C. § 1446(b).

5. This case is a civil action of Which this Court has original jurisdiction under 28
U.S.C. § 1331, and is one which may be removed to this Court by PRA pursuant to the
provisions of 28 U.S.C. § 144l(b), in that Plaintiff has alleged, inter alia, that PRA violated the
F air Debt Coilection Practices Act, 15 U.S.C. § 1692, et seq., thereby asserting claims that arise
under federal law.

6. In that the causes of action alleged by Plaintiff arise from the performance of
obligations of the parties within Baltimore City, Maryland, the United States District Court for
the District of Maryland, Northern Division, should be assigned the Action.

7. PRA, upon filing this Notice of Removal in the office of the Clerk of the United
States District Court for the District of Maryland, Northern Division, has also caused to be filed
copies of this Notice with the Clerk of Court for the Circuit Court of Maryland for Baltimore

City to effect removal of this action pursuant to §l 446(d). § Exhibit "B".

 

 

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WI-IEREFORE, Defendant Portfolio Recovery Associates, LLC hereby notifies this

Honorable Court that this action is removed from the Circuit Court of Maryland for Baltirnore

City to the United States District Court for the District of Maryland, Northern Division, pursuant

to the provisions of 28 U.S.C. §§1331, and 1446.

Dated: (HBOHB

Respectfully submitted,

MARSHALL, DENNEHEY, WARNER,
CO 'EMAN & GOGGIN, P.C.

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tKIi'REN M. BURNETTE, EsQUIRE
Attorney No. 29597

4200 Crums Mill Road, Suite B
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(717) 651-3703
lmburnette@mdwcg.corn

Counsel for Defendant

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ZACHARY GREGORY,
No.
Plaintiff
v.
PORTFOLIO RECOVERY
ASSOClATES, LLC,
Defendallt
PROOF OF MAILlNG

I hereby certify that on April 30, 2013, the original of the within Notice of Removal was
sent to the Clerk of the United States District Court for the District of Maryland, Civil Division,
to be filed and that a copy of the same was forwarded to the following interested persons as
follows:

 

NAME AND ADDRESS
E. David Hoskins, Esquire Clerk
Max F. Brauer, Esquire Circuit Court for Baltimore City
Law Offices of E. David Hoskins, LLC lll N. Calvert St.
Quadrangle Building at Cross Keys Baltimore, MD 21202
2 Hamill Road, Suite 362
Baltimore, MD 21210

 

 

 

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VERIFICATION

I certify that the foregoing state puts made by me are true. I understand that if any of
the foregoing statements made by me are williiilly alse, 1 am subject to punishment

 

By:
LAUREN M. BURNETTE, ESQUIRE
Counsel for Defendant

Dated: (’HBOMZ

